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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON; STATE OF                         NO. 2:25-cv-00127
     ARIZONA; STATE OF ILLINOIS; and
10   STATE OF OREGON,
                                                           DECLARATION OF
11                             Plaintiffs,                 TOM K WONG
12      v.
13   DONALD TRUMP, in his official capacity
     as President of the United States; U.S.
14   DEPARTMENT OF HOMELAND
     SECURITY; BENJAMINE HUFFMAN, in
15   his official capacity as Acting Secretary of
     Homeland Security; U.S. SOCIAL
16   SECURITY ADMINISTRATION;
     MICHELLE KING, in her official capacity
17   as Acting Commissioner of the Social
     Security Administration; U.S.
18   DEPARTMENT OF STATE; MARCO
     RUBIO, in his official capacity as Secretary
19   of State; U.S. DEPARTMENT OF
     HEALTH AND HUMAN SERVICES;
20   DOROTHY FINK, in her official capacity
     as Acting Secretary of Health and Human
21   Services; U.S. DEPARTMENT OF
     JUSTICE; JAMES MCHENRY, in his
22   official capacity as Acting Attorney
     General; U.S. DEPARTMENT OF
23   AGRICULTURE; GARY WASHINGTON,
     in his official capacity as Acting Secretary
24   of Agriculture; and the UNITED STATES
     OF AMERICA,
25
                               Defendants.
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     DECLARATION OF                                  1              ATTORNEY GENERAL OF WASHINGTON
                                                                             Civil Rights Division
     DR. TOM. K. WONG                                                    800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-cv-00127                                                  Seattle, WA 98104
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 1          I, Tom K. Wong, declare as follows:
 2          1.      I am over the age of 18, competent to testify as to the matters herein, and make
 3   this declaration based on my personal knowledge. If called to testify as a witness, I could and
 4   would testify competently to the matters set forth below.
 5          2.      I am a tenured Associate Professor at the University of California, San Diego
 6   (UCSD). I work in the Political Science Department, which U.S. News & World Report
 7   consistently ranks as one of the top ten political science departments nationally. I first joined the
 8   Department at UCSD in 2012, and became an Associate Professor with tenure in 2016. At
 9   UCSD, I am the Director of the U.S. Immigration Policy Center (USIPC), which I founded in
10   2018, and the Director of the Human Rights and Migration Studies Program Minor.
11          3.      Prior to this, I served as an advisor to the White House Initiative on Asian
12   Americans and Pacific Islanders (WHIAAPI), where I co-led on the immigration portfolio,
13   during the 2015-2016 academic year. I received a Ph.D. in Political Science from the University
14   of California, Riverside in 2011.
15          4.      I am an expert on U.S. immigration policy. I have written two peer-reviewed
16   books and dozens of peer-reviewed journal articles, book chapters, and reports on this subject.
17   My most recent article represents one of the first randomized survey experiments done on a
18   sample of undocumented immigrants that sheds light on how local cooperation with federal
19   immigration enforcement officials affects the day-to-day behaviors of unauthorized immigrants.
20          5.      In my work, I regularly estimate the size and the characteristics of the
21   unauthorized immigrant population using U.S. Census American Community Survey (ACS)
22   microdata. This work has been used in my academic publications, reports that I have written for
23   think tanks, white papers written for Congressional offices, and in sworn testimony that I have
24   given to the Senate Judiciary Committee on immigration-related matters. Substantively, this
25   work involves comparing outcomes between U.S. citizens and those without legal status, which
26   is the core of the analysis I present below.


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 1           6.       I have attached a true and complete copy of my curriculum vitae as Exhibit A to
 2   this Declaration, which includes a list of all of my publications over the past ten years.
 3           7.       I have been retained by the State of Washington to analyze data related to possible
 4   impacts of denying birthright citizenship to certain children born in the United States. I share my
 5   opinions below of how the denial of birthright citizenship will impact children who are born
 6   non-citizens, the methodology and analysis I conducted to reach those opinions, and the data
 7   used to demonstrate differences across multiple social and economic indicators to compare
 8   outcomes for U.S. citizens versus non-citizens.
 9           8.       I understand that the federal government has taken action to deny birthright
10   citizenship to certain children born to undocumented parents. In my opinion, denying birthright
11   citizenship to children born in the U.S., but who have undocumented parents, will create a
12   permanent underclass of people whose societal and economic integration will be severely
13   impaired throughout the course of their entire lifetimes. One way to evaluate this impact is to
14   compare outcomes between U.S. citizens and those who live in the U.S. without legal status.
15   Indeed, the status quo gives U.S. citizenship to children born in the U.S., but who have
16   undocumented parents. Denying birthright citizenship to these children would make them
17   unauthorized immigrants just like their parents.
18           9.       In the analysis below, I use the Warren (2014) method1 to estimate likely
19   unauthorized immigrants in the 2023 American Community Survey (ACS) microdata one-year
20   file.2 I then compare outcomes between U.S. citizens and those who live in the U.S. without legal
21   status across a range of indicators of societal and economic integration. The data show clear
22   patterns, wherein unauthorized immigrants do worse when compared to U.S. citizens across
23   these indicators of societal and economic integration. This confirms the conclusion that denying
24   birthright citizenship to children born in the U.S. to undocumented parents will create a
25           1
                Warren, Robert. “Democratizing data about unauthorized residents in the United States: Estimates and
     public-use data, 2010 to 2013.” Journal on Migration and Human Security 2, no. 4 (2014): 305-328.
26            2
                This represents the most recently available ACS microdata.


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 1   permanent underclass of people who are excluded from U.S. citizenship and are thus not able to
 2   realize their full potential. Not only would this newly created underclass of people stand to lose,
 3   but American society and the economy would also be harmed from their lack of societal and
 4   economic integration.
 5          Indicators of Societal and Economic Integration
 6          10.     Living in the U.S. without legal status means having to live with the constant fear
 7   of deportation and the absence of work authorization. But living “in the shadows,” as
 8   unauthorized immigrants do, affects societal and economic integration in numerous other ways.
 9   One indicator of societal integration is whether a person is in school. Another indicator of
10   societal integration is educational attainment. These two indicators speak to human capital,
11   wherein more people who are in school and more educational attainment mean more human
12   capital accrues to society. Indicators of economic integration are whether a person is employed,
13   income, and poverty. These three indicators speak to economic contributions, wherein higher
14   employment, higher income, and lower poverty, mean higher economic contributions. I discuss
15   each indicator and differences between U.S. citizens and unauthorized immigrants below.
16          11.     School. Regarding whether a person is in school, the data show clearly that U.S.
17   citizens are significantly more likely to be in school when compared to likely unauthorized
18   immigrants. For example, for U.S. citizens between the ages of eighteen and twenty-four, 48.2
19   percent are in school. For likely unauthorized immigrants between the ages of eighteen and
20   twenty-four, only 26.4 percent are in school. This 21.8 percent difference is highly statistically
21   significant. As Table 1 shows, not only are U.S. citizens significantly more likely to be in school
22   when compared to likely unauthorized immigrants, but this pattern holds across all age groups.
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 1                                                Table 1
 2
           Age Group           % In School – U.S.           % In School –               Difference
 3                                  Citizen                    Likely
                                                            Unauthorized
 4                                                           Immigrant
              18-24                   48.2%                    26.4%                      +21.8%
 5

 6            25-34                   10.2%                      4.6%                     +5.6%

 7            35-44                    5.1%                      2.3%                     +2.8%
 8
              45-54                    3.0%                      1.6%                     +1.4%
 9
              55-64                    1.5%                      1.0%                     +0.5%
10

11             65+                     0.7%                      0.5%                     +0.2%

12

13
            12.       Educational Attainment. In terms of educational attainment, I analyze
14
     differences between U.S. citizens and likely unauthorized immigrants when it comes to whether
15
     a person has a high-school diploma. The data show clearly that U.S. citizens are significantly
16
     more likely to have a high-school diploma when compared to likely unauthorized immigrants.
17
     For example, for U.S. citizens between the ages of eighteen and twenty-four, 77.5 percent have
18
     a high-school diploma. For likely unauthorized immigrants between the ages of eighteen and
19
     twenty-four, only 59.6 percent have a high-school diploma. This 17.9 percent difference is highly
20
     statistically significant. As Table 2 shows, not only are U.S. citizens significantly more likely to
21
     have a high-school diploma when compared to likely unauthorized immigrants, but this pattern
22
     also holds across all age groups. In fact, the gap between the percentage of U.S citizens who
23
     have a high-school diploma and the percentage of likely unauthorized immigrants who have a
24
     high-school diploma is widest at the sixty-five an older age group. More specifically, for U.S.
25
     citizens who are sixty-five or older, 73.7 percent have a high-school diploma. For likely
26


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 1   unauthorized immigrants who are sixty-five or older, only 29.7 percent have a high-school
 2   diploma. This 44.0 percent difference is highly statistically significant.
 3
                                                  Table 2
 4

 5         Age Group             % High-School              % High-School               Difference
                                 Diploma – U.S.            Diploma – Likely
 6                                  Citizen                 Unauthorized
                                                              Immigrant
 7            18-24                   77.5%                     59.6%                     +17.9%
 8
              25-34                   81.3%                     55.0%                     +26.3%
 9
              35-44                   76.5%                     43.7%                     +32.8%
10
              45-54                   75.6%                     38.0%                     +37.6%
11

12            55-64                   75.8%                     38.9%                     +36.9%

13             65+                    73.7%                     29.7%                     +44.0%
14

15
            13.       Employment. When it comes to employment, employment rates are largely
16
     similar when comparing U.S. citizens to likely unauthorized immigrants. Table 3 shows
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     employment rates for those who are in the labor force for U.S. citizens and likely unauthorized
18
     immigrants by age group.
19

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 1                                               Table 3
 2
         Age Group            % Employed –        % Employed – Likely                 Difference
 3                             U.S. Citizen      Unauthorized Immigrant
             18-24               91.1%                   92.2%                           -1.1%
 4
             25-34                95.7%                     96.6%                        -0.9%
 5

 6           35-44                96.5%                     96.8%                        -0.3%

 7           45-54                97.0%                     96.9%                       +0.1%

 8           55-64                97.3%                     96.5%                       +0.8%
 9
              65+                 97.3%                     96.6%                       +0.7%
10

11

12          14.      Annual Total Income. Despite similar employment rates, income varies

13   significantly between U.S. citizens and likely unauthorized immigrants, which demonstrates the

14   gap in earning potential for unauthorized workers. This makes vivid the “undocumented penalty”

15   that comes with living in the U.S. without legal status. Regarding annual total income, the data

16   show clearly that U.S. citizens earn significantly more annual total income when compared to

17   likely unauthorized immigrants. For example, for U.S. citizens between the ages of eighteen and

18   twenty-four, average annual total income is $24,899.43. For likely unauthorized immigrants

19   between the ages of eighteen and twenty-four, average annual total income is $23,857.68. This

20   $1,041.75 difference is highly statistically significant. Despite annual total income being higher

21   for likely unauthorized immigrants between the ages of twenty-five and thirty-four when

22   compared to U.S. citizens between the ages of twenty-five and thirty-four, the income

23   disadvantage for unauthorized immigrants grows and becomes more significant over time. For

24   U.S. citizens between the ages of thirty-five and forty-four, average annual total income is

25   $69,623.08. For likely unauthorized immigrants between the ages of thirty-five and forty-four,

26   average annual total income is $63,236.55. This $6,386.53 difference is highly statistically


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 1   significant. Between the ages of forty-five and fifty-four, the income disadvantage for
 2   unauthorized immigrants is at its widest. For U.S. citizens between the ages of forty-five and
 3   fifty-four, average annual total income is $75,845.63. For likely unauthorized immigrants
 4   between the ages of forty-five and fifty-four, average annual total income is $52,534.81. This
 5   $23,310.82 difference is highly statistically significant. As Table 4 shows, the income
 6   disadvantage for unauthorized immigrants persists for the rest of their working lifetimes.
 7   Altogether, from the ages of eighteen to sixty-four, U.S. citizens will earn an estimated
 8   $455,717.35 more in annual total income, which translates into a 19.5 percent difference, when
 9   compared to likely unauthorized immigrants.
10

11                                                Table 4

12         Age Group              Annual Total             Annual Total               Difference
                                  Income – U.S.           Income – Likely
13                                   Citizen               Unauthorized
                                                            Immigrant
14
              18-24                 $24,899.43               $23,857.68               +$1,041.75
15
              25-34                 $50,902.85              $55,784.47                -$4,881.62
16
              35-44                 $69,623.08              $63,236.55                +$6,386.53
17

18            45-54                 $75,845.63              $52,534.81               +$23,310.82

19            55-64                 $65,276.56              $45,249.78               +$20,026.78
20             65+                  $48,638.26              $29,591.35               +$19,046.91
21

22
            15.       Poverty. Lastly, the data show clearly that poverty is more pronounced among
23
     likely unauthorized immigrants when compared to U.S. citizens. For example, whereas 15.6
24
     percent of U.S. citizens between the ages of eighteen and twenty-four live at or below the federal
25
     poverty line, the commensurate percentage for likely unauthorized immigrants between the ages
26


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 1   of eighteen and twenty-four is 18.0 percent. This 2.4 percent difference is highly statistically
 2   significant. As Table 5 shows, the poverty disadvantage for unauthorized immigrants persists
 3   across all age groups except for likely unauthorized immigrants between the ages of fifty-five
 4   and sixty-four. As Table 5 also shows, the poverty disadvantage for unauthorized immigrants is
 5   widest for unauthorized immigrants sixty-five years and older. Whereas 10.4 percent of U.S.
 6   citizens sixty-five years and older live at or below the federal poverty line, the commensurate
 7   percentage for likely unauthorized immigrants sixty-five years and older is 15.9 percent. This
 8   5.4 percent difference is highly statistically significant.
 9

10                                                 Table 5

11         Age Group             % Poverty – U.S.        % Poverty – Likely                 Difference
                                     Citizen               Unauthorized
12                                                          Immigrant
13            18-24                    15.6%                  18.0%                           -2.4%

14            25-34                     8.5%                        9.9%                      -1.4%

15            35-44                     8.1%                        10.5%                     -2.4%
16
              45-54                     7.3%                        8.2%                      -0.9%
17
              55-64                     9.5%                        7.7%                      +1.8%
18
               65+                     10.4%                        15.9%                     -5.5%
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 1          I declare under penalty of perjury under the laws of the State of Washington and the
 2   United States of America that the foregoing is true and correct.
 3          DATED and SIGNED this 21st day of January 2025, at San Diego, California.
 4

 5
                                                  DR. TOM K. WONG
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